The complaint is brought under the provisions of General Statutes, Sup. 1941, § 822f, providing for joinder of plaintiffs and consolidation of causes. The plaintiffs were all involved in the same automobile accident on February 13, 1945, in which, the complaint alleges, the defendant was negligent. In the first count the plaintiff Rosalind T. Bender claims $2,500 damages; in the second count the plaintiff David Bender claims $500 damages; in the third count the plaintiff Lena R. Toubman claims $1,000 damages; and in the fourth count the plaintiff Morris B. Toubman claims $1,000 damages.
The defendant's motion is based upon the contention that although the respective damages demanded on behalf of each of the four plaintiffs in the complaint are not in excess of $2,500, an amount within the jurisdiction of this court, the aggregate damages demanded on behalf of all four plaintiffs amount to $5,000, which brings the action beyond the jurisdiction of this court.
Section 808f, Sup. 1941, sets out the jurisdiction of the Court of Common Pleas, and § 813f, that of the Superior Court. The use of the words "severally and distinctly demanded" in both § 808f and § 813f, and also the wording of the last sentence in § 808f, considered in connection with the provisions of § 822f, compel the conclusion that it was the legislative intent as indicated by the wording of these statutes that the Court of Common Pleas have jurisdiction of an action brought under the provisions of § 822f if the claim of each individual plaintiff is for *Page 42 
recovery of an amount not exceeding $2,500, although the aggregate of all claims of the several plaintiffs is in excess of $2,500.
   The motion to erase is denied.